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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  JUAN LOZADA-LEONI,             §
           Plaintiff,            §
                                 §                          CASE NO. 4:20-cv-00068-RWS-CMC
       v.                        §
                                 §
  MONEYGRAM INTERNATIONAL, INC., §
  And MONEYGRAM PAYMENT          §                          JURY TRIAL DEMANDED
  SYSTEMS, INC.,                 §
             Defendants.         §


                       MOTION TO STAY UNOPPOSED MOTION FOR
                             WITHDRAWAL OF COUNSEL

  TO THE HONORABLE JUDGE OF SAID COURT:

         On Tuesday, April 7, 2020 (yesterday) Attorney Steve Kardell of the law firm of Kardell

  Law Group PC filed an Unopposed Motion to Withdraw as Counsel for Plaintiff Juan Lozada-

  Leoni, and also indicated therein that Plaintiff will continue to be represented by other counsel of

  record, Theodore Garber of The Law Office of Juan Antonio Lozada, PLLC.

         At the same time (and unbeknownst to Mr. Kardell) Mr. Garber filed the following: [Dkt.

  61] Response to Non-Motion, Regarding Juan Lozada's Pro Hac Vice Application filed by Juan

  Lozada Leoni. (Attachments: # (1) Text of Proposed Order)(by Garber, Theodore).

         Kardell is still an attorney of record in the above-referenced matter. Notwithstanding

  Kardell’s instructions to both Garber and Lozada-Leoni to provide him with a pre-filing copy of

  any documents filed in this matter, Kardell was not provided a copy of same prior to its filing.

         Kardell hereby requests that before his Motion to Withdraw is granted, Kardell be given

  an opportunity to clarify certain representations contained in Garber’s Response to Non-Motion.

         A short stay herein, allowing Kardell continued standing to participate in these

  proceedings, will provided needed clarity to this somewhat convoluted aspect of this case.
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                                                       Respectfully submitted,


                                                      KARDELL LAW GROUP




                                              By:
                                                             Steve Kardell

                                              Date:          April 8, 2020

                                                       Steve Kardell
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                                                       ATTORNEY FOR PLAINTIFF,
                                                       JUAN LOZADA-LEONI


                               CERTIFICATE OF CONFERENCE

         Steve Kardell, counsel for Plaintiff, Juan Lozada-Leoni, conferred with all counsel on April
  8, 2020, and represents the following:
             •   that this Motion is unopposed by Defendants; and
             •   that this Motion is opposed by Theodore Garber, on behalf of Plaintiff Juan Lozada-
                 Leoni.


                                               /s/ Steve Kardell
                                               Steve Kardell




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                                  CERTIFICATE OF SERVICE


          I hereby certify that on this 8th day of April 2020, a copy of the foregoing document was
  filed electronically in compliance with Local Rule CV-5(a). Therefore, this document was served
  on all counsel who are deemed to have consented to electronic service. Local Rule CV- 5(a)(3)(A).
  Pursuant to Fed.R.Civ.P. 5(d) and Local Rule CV-5(e), all other counsel of record not deemed to
  have consented to electronic service were served with a true and correct copy of this document via
  e-mail, facsimile and/or U.S. First Class Mail.


                                               /s/ Steve Kardell
                                               Steve Kardell




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